Case 5:20-cr-00334-H Document 186 Filed 11/05/20 Page 1 of 5
Case 5:20-cr-00334-H Document 186 Filed 11/05/20 Page 2 of 5
Case 5:20-cr-00334-H Document 186 Filed 11/05/20 Page 3 of 5
of the Clerk of Court in any county in which the defendant resides or has either real

or personal property as a lien thereon. Pursuant to Rule 32.2(e) of the Federal Rules

of Criminal Procedure, the United States may move to amend this Order at any time

to forfeit other property in which the defendant has an interest, whether directly

forfeitable or substitute assets, to satisfy this forfeiture money judgment in whole or

in part; provided that the net proceeds of any forfeited assets shall be credited toward

satisfaction of the judgment upon liquidation.

      4.      Upon sentencing and issuance of the Judgment and Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), with the defendant's

consent, this Order shall be final as to the defendant upon entry.

      5.      The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      SO ORDERED, this the 5th day of November 2020.




                                 MALCOLM J. HOWARD
                                 SENIOR UNITED STATES DISTRICT JUDGE




                    [Signatures of the Parties on Following Page]




                                           4


           Case 5:20-cr-00334-H Document 186 Filed 11/05/20 Page 4 of 5
Case 5:20-cr-00334-H Document 186 Filed 11/05/20 Page 5 of 5
